














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. 31,536-02






EX PARTE ROBERT ALAN FRATTA








ON APPLICATION FOR WRIT OF HABEAS CORPUS 


FROM HARRIS COUNTY






	Per Curiam.  



O R D E R



	This is a post conviction application for writ of habeas corpus filed pursuant to the
provisions of Texas Code of Criminal Procedure Article 11.071.

	On April 23, 1996, applicant was convicted of the offense of capital murder.  The
jury answered the special issues submitted pursuant to Texas Code of Criminal Procedure
Article 37.071, and the trial court, accordingly, set punishment at death.  This Court
affirmed applicant's conviction and sentence on direct appeal.  Fratta v. State, No. 72,437
(Tex. Crim. App. June 30, 1999)(not designated for publication).

	Applicant presents eight allegations in his application in which he challenges the
validity of his conviction and resulting sentence.  Although an evidentiary hearing was not
held, the trial judge entered findings of fact and conclusions of law.  The trial court
recommended that relief be denied. 

	This Court has reviewed the record with respect to the allegations made by applicant. 
We adopt the trial judge's findings and conclusions.  Based upon the trial court's findings
and conclusions and our own review, the relief sought is denied.

	IT IS SO ORDERED THIS THE 22ND DAY OF SEPTEMBER, 2004.


Do Not Publish


